                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                         MIDLAND/ODESSA DIVISION


UNITED STATES OF AMERICA,                         §
                                                  §
v.                                                §             MO:22-CR-00154-DC
                                                  §
(1) RAYMOND CHARLES JR,                           §

                               MEMORANDUM OPINION

       Much like Bill Murray’s character in the movie, “Groundhog Day,” who repeats the

same day over and over, the Court awakens to the same Second Amendment issue it recently

covered in United States v. Collette. Section 922(g)(1), which prohibits felons from possessing

firearms, is once again the topic. This recurrence was expected, anticipated actually, because,

as this Court consistently states, Bruen transformed and left uncharted much of the legal

landscape.

                                      BACKGROUND

       After he was pulled over by police, Defendant Raymond Charles Jr. told officers he

had a firearm in his vehicle. Upon searching the vehicle, officers discovered a loaded Ruger

P90 .45 caliber semi-automatic handgun. And when the police conducted a background

check, they discovered Defendant had felony convictions for residential burglary and

possession with intent to distribute narcotics.

       Defendant was charged with one count of knowingly possessing a firearm as a felon

under 18 U.S.C. § 922(g)(1) in July 2022. Defendant recently filed the Motion to Dismiss
Indictment now before the Court.1 So recently was it filed, in fact, he did so with little time

to spare—his trial starts tomorrow.

         And although this Court found § 922(g)(1) constitutional just last week, Defendant

argues that the Court’s analysis was incorrect and § 922(g)(1) is facially unconstitutional and

as applied to Defendant. So, similar to “Groundhog Day,” the Court returns to § 922(g)(1)’s

constitutionality and Defendant’s arguments below.

                                                 DISCUSSION

         The Second Amendment provides: “A well regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be

infringed.”2 In Heller, the Supreme Court held that the Second Amendment protects “the

right of an ordinary, law-abiding citizen to possess a handgun in the home for self-defense.”3

And just last term, in Bruen, the Supreme Court held “consistent with Heller and McDonald,

that the Second and Fourteenth Amendments protect an individual’s right to carry a

handgun for self-defense outside the home.”4

I.       The Supreme Court in Bruen laid out a new standard for courts to use when
         analyzing firearm regulations.

         Before Bruen, courts of appeals had “coalesced around a “two-step” framework”

when assessing Second Amendment claims, combining a historical analysis with means-end

scrutiny.5 For the first step, the court would establish the Second Amendment’s original




1 Doc. 43.
2 U.S. Const. Amend. II.
3 D.C. v. Heller, 554 U.S. 570 (2008).
4 N.Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2122 (2022).
5 Id. at 2125.




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scope through a historical analysis.6 If the regulated conduct fell outside the Amendment’s

original scope, “the analysis can stop there; the regulated activity is categorically

unprotected.”7 But if not outside the Amendment’s scope or “inconclusive,” the court

would proceed to step two.8

         In step two, a court would generally analyze “how close the law comes to the core of

the Second Amendment right and the severity of the law’s burden on that right.”9 If the

“core” Second Amendment right—self-defense in one’s home—was burdened, the court

would apply strict scrutiny.10 Otherwise, it would apply intermediate scrutiny, considering

whether the Government had shown that the regulation is “substantially related to the

achievement of an important governmental interest.”11

         But in Bruen, Justice Thomas stated the two-step approach was “one step too

many.”12 In its place, Justice Thomas enumerated a new standard courts must follow:

         “[W]hen the Second Amendment’s plain text covers an individual’s conduct,
         the Constitution presumptively protects that conduct. The government must
         then justify its regulation by demonstrating that it is consistent with the
         Nation’s historical tradition of firearm regulation. Only then may a court
         conclude that the individual’s conduct falls outside the Second Amendment’s
         “unqualified command.”13

         So the threshold question is whether the Second Amendment’s plain text covers

Defendant’s conduct.



6 E.g., United States v. Focia, 869 F.3d 1269, 1285 (CA11 2017).
7 United States v. Greeno, 679 F.3d 510, 518 (CA6 2012).
8 E.g., Kanter v. Barr, 919 F.3d 437, 441 (CA7 2019).
9 Id.
10 Kolbe v. Hogan, 849 F.3d 114, 133 (CA4 2017).
11 Kachalsky v. County of Westchester, 701 F.3d 81, 96 (CA2 2012).
12 N.Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2127 (2022).
13 Id. at 2129–30.




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II.     Bruen’s First Step: “possessing” a firearm under the Second Amendment’s
        plain text.

        Defendant is charged with violating 18 U.S.C. § 922(g)(1), which makes it “unlawful

for any person who has been convicted in any court of, a crime punishable by imprisonment

for a term exceeding one year to . . . possess any firearm or ammunition . . . which has been

shipped or transported in interstate or foreign commerce.”

        The Court has already answered the question of whether “keep and bear arms”

covers possession of a firearm—it does. According to Justice Scalia in Heller, to “keep arms”

means to “have weapons.” The plain meaning of “have” is “to be in possession of.” 14 Thus,

the Second Amendment’s “keep and bear arms” language plainly encompasses possession.

        The Court reiterates this is where Bruen conflicts with Heller. Heller called

proscriptions against felons possessing guns “presumptively lawful.”15 In contrast, because

possession is covered by the Second Amendment’s plain text, Bruen makes a felon’s

possession of a firearm “presumptively constitutional.”16 Bruen is the controlling standard,

but this conflict—the presumption of constitutionality—is what places the heavy burden on

the Government.

        In any event, Bruen’s first step asks a strictly textual question with only one answer:

the Second Amendment’s plain text covers possession of a firearm. Because the Constitution

presumptively protects possessing a firearm, § 922(g)(1)’s constitutionality hinges on whether

regulations prohibiting felons from possessing a firearm are consistent with the Nation’s

historical tradition of firearm regulation.


14 Have, OXFORD ENGLISH DICTIONARY (3d ed. 2015).
15 D.C. v. Heller, 554 U.S. 570, 627 n.26 (2008).
16 Bruen, 142 S. Ct. at 2129–30.




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III.    Bruen’s second step: the historical analysis.
        This Court recently undertook the historical analysis in Quiroz and Collette.17 But for

completeness’s sake, the Court repeats that analysis below, starting with § 922(g)(1)’s history.

        A. Felons in possession: the Federal Firearms Act of 1938 to present.

        The history of prohibiting felons from possessing firearms began in 1938, when

Congress passed the Federal Firearms Act (“FFA”).18 The FFA prohibited those convicted

of “a crime of violence” from shipping or transporting any firearms or ammunition in

interstate commerce.19 The Act’s proscriptions were limited to those convicted of “crimes of

violence,” which was commonly understood to include only those offenses “ordinarily

committed with the aid of firearms.”20

        According to the legislative history, Congress implemented the FFA to combat

roaming criminals crossing state lines.21 Without federal laws, ex-convicts would simply cross

state lines to circumvent conditions of probation or parole. 22 The FFA’s main goal then was

to “eliminate the guns from the crooks’ hands, while interfering as little as possible with the

law-a-biding citizen.”23 In Congress’s eyes, those convicted of crimes of violence had already

“demonstrated their unfitness to be entrusted with such dangerous instrumentalities.”24

        Yet it wasn’t until 1961 that felons were specifically prohibited from possessing

firearms. Congress amended the FFA in 1961, removing the “crimes of violence” language,

17 United States v. Quiroz, No. PE:22-CR-00104-DC, 2022 WL 4352482 (W.D. Tex. Sept. 19, 2022); United

States v. Collette, No. MO:22-CR-00141-DC, 2022 WL 4476790 (W.D. Tex. Sept. 25, 2022).
18 5 Cong. Ch. 850, § 2(e), 52 Stat. 1250, 1251 (repealed).
19 Id.
20 C. Kevin Marshall, Why Can't Martha Stewart Have A Gun?, 32 HARV. J.L. & PUB. POL'Y 695, 702 (2009).
21 United States v. Platt, 31 F. Supp. 788, 790 (S.D.Tex.1940) (citing Record of Hearings on H.R. 9066 Before

the House Committee on Ways and Means, 73d Congress).
22 Id.
23 S.Rep. No. 82, 75th Cong., 1st Sess. 2 (1937).
24 Cases v. United States, 131 F.2d 916, 921 (1st Cir. 1942).




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replacing it with a “crime punishable by imprisonment for a term exceeding one year.” 25

Congress then expanded gun regulations yet again with the Gun Control Act of 1968

(“GCA”).26 The key amendments for § 922(g) included banning possessing and prohibiting

receipt of any firearm that had traveled in interstate commerce.27 And in 1986, all provisions

as well as other sections that limited access to guns by dangerous persons, were separated

and recodified under § 922(g).28 So as of 2022, prohibiting felons from possessing firearms at

the federal level is less than 65 years old.

         B. The straightforward historical inquiry.

         If a challenged regulation addresses a “general societal problem that has persisted

since the 18th century,” this historical inquiry is “straightforward.”29 Heller did state,

although in dicta, that there is a “longstanding” prohibition on felons possessing firearms. 30

Justice Scalia did not elaborate on what he meant by “longstanding.” To bolster his

argument that prohibiting felons from possessing a firearm is not longstanding, Defendant

cites then-Judge Amy Coney Barrett during her tenure on the Seventh Circuit in a case

involving § 922(g)(1).

         In Kanter v. Barr, now-Justice Barrett dissented from the majority opinion upholding

the statute’s constitutionality.31 Justice Barrett noted in her dissent that “[t]he only evidence

coming remotely close lies in proposals made in the New Hampshire, Massachusetts, and

25 See Act of Oct. 3, 1961, Pub.L. No. 87–342, § 2, 75 Stat. 757 (repealed).
26 Gun Control Act of 1968. Pub.L. 90–618, 82 Stat. 1213 (codified at 18 U.S.C. § 921 et seq.).
27 Id. tit. I, § 102, 82 Stat. 1213, 1220-21; id. tit. III, §. 301, 82 Stat. at 1236 (all codified at 18 U.S.C. § 922(g);

Omnibus Crime Control and Safe Streets Act of 1968, Pub. L. No. 90-351, tit. IV, § 925, 82 Stat. 197, 233-34;
id. tit. VII, § 1202, 82 Stat. at 236.
28 Firearms Owners' Protection Act, Pub.L. 99–308, § 110, 100 Stat 449 (1986).
29 N.Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2131 (2022).
30 D.C. v. Heller, 554 U.S. 570, 626 (2008).
31 Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019) (Barrett, J. dissenting).




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Pennsylvania ratifying conventions. In recommending that protection for the right to arms

be added to the Constitution, each of these proposals included limiting language arguably

tied to criminality.”32

         But that doesn’t mean no historical evidence exists supporting disarming felons. Like

Justice Barrett argues in Kanter, Pennsylvania’s ratifying convention provides the strongest

evidence.33 In the convention, the influential Pennsylvania Minority suggested that the right

to arms be guaranteed “unless for crimes committed, or real danger of public injury from

individuals.”34 The Massachusetts and New Hampshire ratifying conventions also provide

evidence, although to a lesser extent.

         The Massachusetts convention’s proposed amendment was that the Second

Amendment “be never construed to authorize Congress . . . to prevent the people of the

United States, who are peaceable citizens, from keeping their own arms.”35 Likewise, one of

New Hampshire’s proposed amendments was that “Congress shall never disarm any Citizen

unless such as are or have been in Actual Rebellion.”36

         The common concern from all three states’ conventions, however, appears to be

threatened violence and the risk of public injury, not felons specifically or even criminals in

general.37 What’s more, based on the Court’s research, historians have pointed out that the

British-American colonies “consistently refrained from [disarming] citizens.”38 After


32 Id. at 454.
33 Id. at 456.
34 Id. (citing 2 Bernard Schwartz, The Bill of Rights: A Documentary History 681 (1971)).
35 Bernard Schwartz, The Bill of Rights: A Documentary History 674–75, 681 (1971).
36 Id.
37 Kanter, 919 F.3d at 456.
38 Robert H. Churchill, Gun Regulation, the Police Power, and the Right to Keep Arms in Early America: The Legal

Context of the Second Amendment, 25 L. & HIST. REV. 139, 157 (2007).


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scouring the colonies’ existing legislative records from 1607 to 1815, one historian could not

find “a single instance in which [the 14 colonies] exercised a police power to prohibit gun

ownership by members of the body politic.”39

         And it wasn’t until 1886 that a state court ruled on a firearm regulation that regulated

“the condition of a person—rather than directly regulating his manner of carrying.”40 There,

in Missouri v. Shelby, the Supreme Court of Missouri upheld a ban on carrying a deadly

weapon while intoxicated.41 So even with a longstanding general concern for public safety,

history lacks direct examples about felons specifically. But just because there are no

straightforward examples does not mean the Court’s historical inquiry stops there.

IV.      Heller, other constitutional provisions, and “the people.”
         With the straightforward historical inquiry unclear, a more nuanced approached is

necessary. When a more nuanced approach is needed, courts can reason by analogy, which

involves finding a historical analogue that is “relatively similar” to the modern regulation.42

         The challenged regulation in this case, like other § 922 regulations, categorically

restricts “who” may exercise their Second Amendment rights. Under the Second

Amendment, the “who” imbued with the right to keep and bear arms is “the people”—a

term of art. But this term of art doesn’t appear only in the Second Amendment.

         The Constitution’s first words trumpet, “We the people,” a sharp contrast to the

British view that the sovereignty of the people was embodied in the monarchy.43 That

contrast was intended; the founders rejected British notions of “sovereign” governmental

39 Id. at 142.
40 C. Kevin Marshall, Why Can't Martha Stewart Have A Gun?, 32 HARV. J.L. & PUB. POL'Y 695, 711 (2009).
41 2 S.W. 468 (Mo. 1886).
42 N.Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2131 (2022).
43 U.S. Const. pmbl; Akhil Reed Amar, Of Sovereignty and Federalism, 96 YALE L.J. 1425. 1435 (1987).




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omnipotence.44 The founders instead placed “that pure, original fountain of all legitimate

authority” with the people.45 Starting with “the people” was on purpose—“words made

flesh by the constitution itself. The Constitution, after all, was not just a text, but an act—a

doing, a constituting.”46 And these “words made flesh” are not only referenced in the

preamble and the Second Amendment.

        A. How Heller defined “the people.”

        Justice Scalia’s majority opinion in Heller highlighted that “in all six other provisions

of the Constitution that mention ‘the people,’ the term unambiguously refers to all members of

the political community, not an unspecified subset.”47 Yet this Court notes that Justice Scalia

slightly altered the Supreme Court’s previous definition of “the people” from United States v.

Verdugo-Urquidez.48 There, the Supreme Court had previously defined “the people” as

“persons who are part of a national community.”49

        So in effect, Justice Scalia narrowed the definition of “the people” to those with the

rights of the “political community.” Heller’s definition then implies that “the people” means

only those with political rights.

        History supports defining “the people” that way. For example, at the time of the

Second Amendment’s ratification, the right to vote, hold public office, or serve on a jury




44 Amar, 96 YALE L.J. at 1435 (1987).
45 THE FEDERALIST NO. 22, at 152 (A. Hamilton); see also id. No. 49, at 313 (J. Madison) (‘the people are

the only legitimate fountain of power’).
46 Akhil Reed Amar, The Bill of Rights: Creation and Reconstruction 48 (Yale University Press 1998).
47 D.C. v. Heller, 554 U.S. 570, 580 (2008) (emphasis added).
48 494 U.S. 259, 265 (1990).
49 Id.




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were thought of as equal to keeping and bearing arms because all were so-called “political

rights.”50

         And the historical support is not out-of-bounds with courts post-Heller. Indeed,

courts post-Heller have followed Heller’s implication that “the people” means only those with

political rights. For example, in United States v. Portillo-Munoz, the Fifth Circuit held that

Second Amendment rights do not extend to undocumented immigrants because they are not

among “the people” of that amendment.51 Heller described Second Amendment rights as

inuring to “law-abiding, responsible citizens” and “all Americans.” 52 Therefore, because

undocumented immigrants are not law-abiding citizens, Americans, or members of the

political community, they could be excluded from “the people.”53

         Besides defining “the people,” Heller also states that “the people” means the same

thing throughout the Constitution.54 Indeed, both Heller and Bruen recognize a consistent

usage within the Constitution.55 Interpreting an individual provision in the context of the

Constitution’s full text is not novel. Indeed, Chief Justice Marshall reasoned over 200 years

ago that the Constitution calls for a “fair construction of the whole instrument. 56 Therefore,

if the meaning is the same throughout the Constitution, other constitutional provisions

enshrining rights or powers to “the people”—and critically, who can be categorically

excluded from “the people”—provide similar historical analogues.



50 Akhil Reed Amar, The Bill of Rights: Creation and Reconstruction 48 (Yale University Press 1998).
51 643 F.3d 437, 440 (5th Cir. 2011).
52 Id. at 442.
53 Id.
54 D.C. v. Heller, 554 U.S. 570, 580 (2008).
55 Id.; N.Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2130 (2022).
56 McCulloch v. Maryland, 17 U.S. (4 Wheat.) 406 (1819) (Marshall, C.J.).




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         That said, the Court acknowledges the tension such an interpretation creates. Like

Justice Stevens noted in his Heller dissent, Justice Scalia failed to harmonize his restriction of

“the people” to “law-abiding, responsible citizens” with its assertion that “the people”

means the same group in the First and Fourth Amendment.57 Justice Scalia limited “the

people” by defining it as “members of the political community.” “But the class of persons

protected by the First and Fourth Amendments is not so limited; for even felons (and

presumably irresponsible citizens as well) may invoke the protections of those constitutional

provisions.”58

         This tension has created an ongoing debate, but this Court does not wade into that

debate. Whether “the people” is consistent across all constitutional provisions or not, the

tradition of categorically excluding certain groups from the rights and powers of “the

people” still provides useful analogies.

         B. Restrictions on the power of “the people” to vote in Section 2, Article I.

         Heller defined “the people” as members of the political community, implying the

phrase is limited to those with political rights like voting. And analogous to the Second

Amendment, the constitutional provision bestowing the power of choosing the House of

Representatives also gives that power to “the people.”

         Section 2, Article I of Constitution states, “the House of Representatives shall be

composed of Members chosen every second Year by the People of the several States.”59 Put

simply, it’s the right of the people to vote. And excluding those convicted of a crime from

the people’s right to vote does have a “longstanding” historical tradition in this country.
57 Heller, 544 U.S. at 644 (Stevens, J. dissenting).
58 Id.
59 U.S. Const. art. I, §2.




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         Indeed, there was a “longstanding” historical tradition ever since ratification that

those convicted of a crime could be excluded from the right to vote.60 For example, one year

after the Second Amendment’s ratification, Kentucky’s Constitution stated, “[l]aws shall be

made to exclude from . . . suffrage those who thereafter be convicted of bribery, perjury,

forgery, or other high crimes and misdemeanors.”61 Vermont’s Constitution followed one

year later, authorizing the removal of voting rights from those engaged in bribery or

corruption during elections.62 As of 2022, only two states and the District of Columbia do

not restrict felons’ voting rights.63

         So if the definition of “the people” is consistent throughout the Constitution—and it

has been historically constitutional to exclude those convicted of a crime from “the people”

under Section 2, Article I —it would also be constitutional then to exclude those groups

from the Second Amendment’s kindred “political right.”

         C. Regulating the rights of “the people” to assemble.

         Another constitutional provision granting rights to “the people” is the First

Amendment’s Assembly-and-Petition clause. The First Amendment states, “Congress shall

make no law . . . abridging . . . the right of the people peaceably to assemble, and to petition

the government for a redress of grievances.” The “very idea of a government, republican in

form, implies a right on the part of its citizens to meet peaceably.”64 But this right is not

absolute—the Supreme Court has excluded groups from the people’s right of assembly.


60 Id. at 605.
61 Kentucky Const. art. VIII § 1.2 (1792).
62 Vermont Const. Ch. II § 34 (1793).
63 State Voting Laws & Policies for People with Felony Convictions, BRITANICA (as of August 1, 2022) State

Voting Laws & Policies for People with Felony Convictions - Felon Voting - ProCon.org.
64 United States v. Cruikshank, 92 U.S. 542, 352 (1875).




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         In De Jonge v. Oregon, the Supreme Court declared the right to peaceful assembly

“equally fundamentally” with other First Amendment clauses.65 There, De Jonge was

charged under a state criminal syndicalism statute after speaking at a Communist party

meeting.66 Although the objectives of the Communist Party are heinous, the Supreme Court

held that De Jonge “still enjoyed his personal right . . . to take part in a peaceable assembly

having a lawful purpose.”67

         Yet the Supreme Court also highlighted the right of assembly “without incitement to

violence or crime.”68 Indeed, much like the right to keep and bear arms, the First

Amendment’s right to assembly can be abused to incite violence or crime. Thus, legislation

protecting against such abuses would be constitutional if “made only against the abuse.” 69

The rights themselves may not be curtailed.70

         The Supreme Court has also held that the Government can restrict the right to

assembly when there is a “clear and present danger of riot, disorder, interference with traffic

upon the public streets, or other immediate threat to public safety, peace, or order.”71 Or like

the Supreme Court held in Brandenburg v. Ohio, only when “advocacy is directed to inciting or

producing imminent lawless action and is likely to incite or produce such action” can the

Government prevent that advocacy.72 Prior restraints against such dangers, however, incur a

heavier burden.


65 299 U.S. 353, 364 (1937).
66 Id. at 359.
67 Id. at 365.
68 Id.
69 Id. at 364.
70 Id. at 365.
71 Cantwell v. State of Connecticut, 310 U.S. 296, 308 (1940).
72 Brandenburg v. Ohio, 395 U.S. 444, 447 (1969).




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         But in the Second Amendment context, restrictions against those already convicted

of a crime, for example, would not be a prior restraint—they have already been found guilty

in a constitutionally sufficient proceeding. Likewise, the right of the people does not protect

violent actors or criminals. Indeed, those who abuse the right and jeopardize public safety,

peace, or order can be excluded from “the people.” So if “the people” means the same

under the First and Second Amendments—and those who abuse their rights to commit

crimes and violence can be constitutionally excluded from the First Amendment’s

protections—the same may be excluded from the Second Amendment’s protections.

V.       Defendant argues that Bruen should be interpreted inflexibly, functioning
         more as a regulatory straitjacket.

         The Court’s historical analysis accords with then-Judge Barrett’s statement while

dissenting in the Seventh Circuit’s Kanter that, if strictly looking at this Nation’s historical

tradition of felons and firearms, “[h]istory does not support the proposition that felons lose

their Second Amendment rights solely because of their status as felon.”73

         The critical question lower courts face then, is how strictly should Bruen be followed?

Justice Thomas made clear that courts post-Heller didn’t engage in the necessary

constitutional analysis, deferring too often to the legislature through intermediate scrutiny. 74

This Court agrees that such deference made Bruen necessary. But how strict—or loose—an

interpretation Bruen requires hasn’t been clarified, leaving important questions.

         For example, if the historical analysis must be so tightly constrained to historical

analogies involving categorical restrictions of only felons and firearms, like Defendant argues


73 Kanter v. Barr, 919 F.3d 437, 464 (7th Cir. 2019) (Barrett, J., dissenting).
74 N.Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2131 (2022).




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here, there are likely very few (if any) modern firearm regulations that would survive. That

might have been Bruen’s point. But this Court thinks that such a strict interpretation turns

the historical analysis into the “regulatory straitjacket” shunned by Bruen.75

         And the fact that the Justices have consistently reiterated that the rulings in Heller,

McDonald, and Bruen did not change the Supreme Court’s opinion on felons and firearms

bolsters this Court’s opinion that Bruen is not intended to be read inflexibly. Indeed, Justices

Scalia, Alito, and Kavanaugh have all restated the sentiment against felons possessing

firearms.76

     The Court also noted the concerns of reading Bruen so strictly in its Quiroz opinion.

There, the Court highlighted the heavy burden the historical analysis places on the

Government, especially when around 1791, firearms represented tools to protect a

homestead in the wilderness and to hunt for food.77 Technological advancement in

transportation and population density are examples of modern developments that have

changed societal perception around firearms since the founding. Yet they aren’t the only

pitfalls a court would run into while reading Bruen so inflexibly.

         A. The expanding class of felonies could make finding specific historical
            analogies an absurdity.

         For one thing, the class of crimes constituting felonies has exploded over the last

century. The original idea of a “felony” at common law was “intertwined with the




75 Id. at 2133.

     D.C. v. Heller, 554 U.S. 570, 627 n.26 (2008) (Scalia, J.); McDonald v. City of Chicago, Ill., 561 U.S. 742, 786
76 See

(2010) (Alito, J.); N. Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2162 (2022) (Kavanaugh, J.,
concurring).
77 United States v. Quiroz, No. PE:22-CR-00104-DC, 2022 WL 4352482, *8 (W.D. Tex. Sept. 19, 2022).




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punishments of death and civil death.”78 But even then, it’s hard to identify a specific

definition for “felony” at the founding.79

         In any event, now-Justice Barrett in her Kanter dissent pointed to how “immense” a

category of crimes § 922(g)(1) captures, encompassing “those who have committed any

nonviolent felony or qualifying state-law misdemeanor.”80 Indeed, Justice Barrett highlighted

the absurdity of what the statute covers—from “mail fraud, to selling pigs without a license

in Massachusetts, redeeming large quantities of out-of-state bottle deposits in Michigan, and

countless other state and federal offenses.81 And the Court notes that the conduct

§ 922(g)(1) encompasses also has changed dramatically from the FFA’s original “crimes of

violence” limitation.82 Likewise, some courts have wondered if stealing a lollipop, if declared

a felony by the legislature, would serve as a basis to remove someone’s Second Amendment

rights.83

         So with more crimes called “felonies” compared to 200 years ago, reading Bruen

robotically would require the Government in an as-applied challenges to find an analogy

specific to the crime charged. For instance, taking one of Justice Barrett’s examples above, if

someone already convicted of selling pigs without a license in Massachusetts (a felony) was

then charged under § 922(g)(1), the Government would need to show a historical tradition

78 Kanter, 919 F.3d at 458 (citing 4 William Blackstone, Commentaries on the Laws of England 98 (1769)).
79 Will Tress, Unintended Collateral Consequences: Defining Felony in the Early American Republic, 57 CLEV. ST. L.

REV. 461, 465 (2009).
80 Kanter, 919 F.3d at 466.
81 Id.; See Mass. Gen. Laws ch. 129, §§ 39, 43; Mich. Comp. Laws § 445.574a(1)(a), (2)(d); see also, e.g., 21 U.S.C.

§ 676 (violating the Federal Meat Inspection Act in certain ways); 18 U.S.C. § 1621 (committing perjury);
Mass. Gen. Laws ch. 266, § 30A (shoplifting goods valued at $100).
82 5 Cong. Ch. 850, § 2(e), 52 Stat. 1250, 1251 (repealed).
83 See United States v. Phillips, 827 F.3d 1171, 1176 n.5 (9th Cir. 2016) (“Can Congress or the States define petty

larceny as a felony? Of course. Can a conviction for stealing a lollipop then serve as a basis under § 922(g)(1)
to a ban a person for the rest of his life from ever possessing a firearm, consistent with the Second
Amendment?”).


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since the founding of removing firearms from those who sold pigs without a license. That’s

absurd.

        B. Societal perceptions about felons and guns a century ago would be
           unthinkable today.

        What’s more, societal perception surrounding felons and guns has changed within the

last 100 years. To illustrate, one of the greatest firearm advancements in history was

developed by a felon while he was in prison. David Marshall Williams was a bootlegger, who

pleaded guilty to second-degree murder in 1921. Because of his skills in the prison

workshop, Williams serviced the prison guards’ guns and developed four semi-automatic

rifles while in prison. Most importantly, Williams designed a floating chamber and short-

stroke gas piston that made the historic M1 Carbine possible. And after his release from

prison, Williams contracted with almost every major gun company in the United States to

help develop firearm technology.84 Williams’ story would likely be unthinkable today.

        C. The same regulation can get conflicting results simply based on the
           Government’s performance.

        One could also imagine a scenario where separate courts can come to different

conclusions on a law’s constitutionality, but both courts would be right under Bruen. Say the

Government in Court A develops an in-depth historical analysis to uphold a regulation, and

Court A finds that the Government met the burden imposed by Bruen’s step two. The

Government in Court B, in contrast, could face the same regulation as in Court A on the

same day, but develop no analysis or respond at all. An inflexible reading of Bruen then,

would require Court B to declare the regulation unconstitutional. On that basis, the same


84 Peter Suciu, The Designer of the M1 Carbine was a Convicted Killer, NAT’L INT. (Dec. 18, 2020) The Designer of

the M1 Carbine Was a Convicted Killer | The National Interest.


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regulation gets different results based on how adept at historical research the Government’s

attorneys are in a particular location or the time they have to devote to the task.

        D. Private citizens possessed the same or better weaponry than the military at
           the founding.

        One last problem with a strict interpretation of Bruen’s historical tradition is that

during the founding, private citizens possessed the same, if not better, weaponry than the

actual colonial military. One example is the private ownership of artillery. Earlier this year,

President Joe Biden received four Pinocchios from the Washington Post after saying that

since the founding, private citizens “couldn’t buy a cannon.”85 That’s indisputably incorrect.

        The Constitution allows for the “grant of letters of marque and reprisal.”86 In

practical terms, this grant allowed private merchant mariners (commonly called “Privateers”)

to help the early American colonies battle the British’s naval superiority. Private citizens

then, sanctioned as legal by the early United States Government, were free to outfit their

ships with cannons or whatever weaponry was available at the time.87 Indeed, James

Madison granted 500 of these letters to private citizens while president during the War of

1812.88 So at the start of the 1800s, the founders were aware of—and encouraged—private

citizens to carry the weaponry necessary to support the United States.

        That said, the Court notes these points not to pretend it knows all the answers; the

Court includes itself with the “amateur historians” Bruen created. Noting the above is merely


85 Glen Kessler, Biden’s false claims that the 2nd Amendment bans cannon ownership, WASH. POST (June 28, 2021)

Biden’s false claim that the 2nd Amendment bans cannon ownership - The Washington Post.
86 U.S. Const. art. I, § 8, cl. 11
87 See Edgar Maclay, A History of American Privateers (D. Appleton and Company 1899) (Privateers are also

the likely source for claims that early citizens could own warships).
88 E.g., Letter of marque from James Madison, President of the United States of America, to James M.

Mortimer, Captain of the private schooner Patapsco. (Sep. 17, 1812) (on file at constitution.org).


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to show—without the benefit of the 80-plus amicus briefs filed in Bruen and on a drastically

shorter timetable than the higher courts—that adopting the strict adherence to Bruen’s

historical mandate that Defendant argues for becomes a “regulatory straitjacket,” which

could lead to courts attempting absurd analogical comparisons in the historical record (like

selling pigs without a license in Massachusetts).

VI.      Why analogizing the Second Amendment to other constitutional amendments
         makes sense and follows the Supreme Court’s precedents.

         Thus, the Court believes that Justice Thomas did not intend that courts, or the

Government, attempt absurd analogical attempts—Bruen is not so inflexible. Instead, this

Court analogizes to the history of other constitutional provisions while trying to faithfully

follow Bruen.

         Defendant argues, however, that the Court’s reasoning above and in Collette isn’t

consistent with Bruen because the “more nuanced” reasoning by analogy only applies in

“other cases implicating unprecedented societal concerns or dramatic technological

changes.”89 What’s more, Defendant claims this Court’s analogizing to other constitutional

provisions “does not appear in Bruen, and conflicts with Bruen’s direction.”90 Defendant’s

argument fails for three reasons.

         A. Heller and Bruen analogize to other constitutional provisions just like this
            Court does.

         Defendant first overlooks that both Heller and Bruen endorsed the using of other

constitutional provisions. Indeed, Justice Scalia and Thomas compare the Second

Amendment with other constitutional provisions to support their holdings.


89 Doc. 43 at 12.
90 Id.




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         Consider the crux of Heller’s reasoning that the Second Amendment enshrined an

individual right, analogizing that “[n]owhere else in the Constitution does a ‘right’ attributed

to ‘the people’ refer to anything other than an individual right.” 91 Unambiguously, in all six

other constitutional provisions, “the people” means individuals—“members of the political

community.”92

         Or like in Bruen, Justice Thomas analogizes the Second Amendment with other

constitutional provisions to support his “historical tradition” framework, stating this

“Second Amendment standard accords with how we protect other constitutional rights.” 93

Likewise, Justice Thomas notes that “Heller repeatedly compared the right to keep and bear

arms” to other constitutional provisions.94 Thus, Heller and Bruen both use and endorse the

same analogical reasoning that this Court uses here and in Collette.95

         B. This Court uses Heller and Bruen’s reasoning to form a syllogism.

         This Court simply analogizes like Heller and Bruen did, forming their reasoning into a

syllogism that Defendant avoids addressing here. In syllogistic form, the Court uses Heller

and Bruen’s methodology to reason as follows:

     (1) Heller states that “the people” in the Second Amendment means “members of the

         political community” every time it’s mentioned in the Constitution.

     (2) Other constitutional provisions have categorically excluded certain groups from the

         “political community” since this Nation’s founding.



91 D.C. v. Heller, 554 U.S. 570, 580 (2008).
92 Id.
93 N.Y. State Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2130 (2022).
94 Id.
95 United States v. Collette, No. MO:22-CR-00141-DC, 2022 WL 4476790 (W.D. Tex. Sept. 25, 2022).




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    (3) Thus, the groups categorically (and constitutionally) excluded from other

        constitutional provisions provide analogies in the Second Amendment context.

    That doesn’t mean those other provisions provide perfect analogies. But neither society

nor the Second Amendment exist in a vacuum. And if society can constitutionally exclude

certain groups from “the political community” in other constitutional provisions, why would

the Second Amendment be any different? Defendant does not answer.

        C. Other constitutional provisions have more developed jurisprudence that
           can help explain the Second Amendment.

        The Court notes that Second Amendment jurisprudence is also underdeveloped

compared to other constitutional rights. It wasn’t until Heller in 2008 that the individual right

to keep and bears arms was solidified. And the Second Amendment wasn’t incorporated to

the states through the Fourteenth Amendment’s Due Process Clause until McDonald in

2010—almost 100 years after the First Amendment was incorporated. 96 Thus, analyzing the

Second Amendment through a historical lens as an individual right, applicable against the

states, has only been around for some 14 years. Or put another way, the Supreme Court’s

jurisprudence that the Second Amendment enshrines an individual right is younger than

Twitter, Facebook, or YouTube.

        The Court acknowledges that analogizing to other constitutional provisions is not

always a perfect fit. But if other constitutional rights have more developed jurisprudence,

then it makes sense that the constitutional interpretations of those rights would help explain

difficult questions under the Second Amendment. And if the Bruen historical framework

“accords with how we protect other constitutional rights,” it follows that the way other

96 McDonald v. City of Chicago, Ill., 561 U.S. 742 (2010); Gitlow v. New York, 268 U.S. 652 (1925).




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constitutional rights are protected accords with how Second Amendment rights are

protected.

VII.    There is still a historical tradition of excluding felons from the rights of “the
        people.”

        In short, the Court’s opinion here is the same as in Collette—there is a historical basis

for excluding felons from constitutional rights.97 Heller identified the right to keep and bear

arms as held by “members of the political community.” And in doing so, Justice Scalia stated

that all constitutional provisions mentioning “the people” were consistent. Through the

historical analogies above, the Court’s inquiry is clear—this Nation has a historical tradition

of excluding felons and those who abuse their rights to commit violence from the rights and

powers of “the people.” Consistent with Heller’s definition, if groups have been categorically

excluded under other constitutional provisions bestowing rights to “the people,” logic

demands that society could also exclude those groups under the Second Amendment.

        This is also consistent with the founders’ idea of popular sovereignty: giving “the

people” the right to govern themselves. Put differently, it’s the right within the

Constitution’s structure to exclude those who abuse the rights of “the people.” And the

people have wielded this right constitutionally under provisions declared equal by the

Supreme Court—so exercising that right under the Second Amendment should be no

different. Thus, § 922(g)(1) is constitutional on its face and as applied to Defendant. 98




97 Collette, 2022 WL 4476790, *7.
98 The Court does not analyze whether there is a difference between violent and non-violent felons. Section

922(g)(1) says “a crime punishable by imprisonment for a term exceeding one year,” and the Court will not
read two competing definitions of “a crime” into the statute. Even so, the Court believes there is still much
left unknown post-Bruen.


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                                     CONCLUSION

       Heller states that the rights enshrined in the Second Amendment, and all other

constitutional provisions reserving rights and powers to “the people,” are held by “members

of the political community.” Both Heller and Bruen bolster their reasoning by analogizing the

Second Amendment with other constitutional provisions. This Court did the same in Collette

and reiterates that holding here: this Nation has a longstanding history of excluding felons

from the rights of “the people.” The Court maintains there are many unknowns in our post-

Bruen world; few, if any other, courts have engaged these issues in depth. This Court remains

faithful to Bruen’s framework. Thus, Defendant’s Motion to Dismiss Indictment is

DENIED.

       It is therefore ORDERED that Defendant’s Motion to Dismiss Indictment is

DENIED. (Doc. 43).

       It is so ORDERED.

       SIGNED this 3rd day of October, 2022.




                                             DAVID COUNTS
                                             UNITED STATES DISTRICT JUDGE




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